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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

NETLIST, INC.                                     §
                                                  §
          v.                                      §
                                                              Case No. 2:21-CV-0463-JRG
                                                  §
SAMSUNG ELECTRONICS CO., LTD., ET                 §
AL.                                               §

                                 DOCKET CONTROL ORDER

          In accordance with the scheduling conference held in this case, it is hereby ORDERED

that the following schedule of deadlines is in effect until further order of this Court:

    Original Deadline    Amended Deadline                               Event

    May 1, 2023                                  *Jury Selection – 9:00 a.m. in Marshall, Texas

    April 3, 2023                                * If a juror questionnaire is to be used, an editable
                                                 (in Microsoft Word format) questionnaire shall be
                                                 jointly submitted to the Deputy Clerk in Charge
                                                 by this date. 1

    March 27, 2023                               *Pretrial Conference – 9:00 a.m. in Marshall,
                                                 Texas before Judge Rodney Gilstrap

    March 20, 2023                               *Notify Court of Agreements Reached During
                                                 Meet and Confer

                                                 The parties are ordered to meet and confer on any
                                                 outstanding objections or motions in limine. The
                                                 parties shall advise the Court of any agreements
                                                 reached no later than 1:00 p.m. three (3) business
                                                 days before the pretrial conference.




1
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.
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    March 20, 2023                              *File Joint Pretrial Order, Joint Proposed Jury
                                                Instructions, Joint Proposed Verdict Form,
                                                Responses to Motions in Limine, Updated Exhibit
                                                Lists, Updated Witness Lists, and Updated
                                                Deposition Designations

    March 13, 2023                              *File Notice of Request for Daily Transcript or
                                                Real Time Reporting.

                                                If a daily transcript or real time reporting of court
                                                proceedings is requested for trial, the party or
                                                parties making said request shall file a notice with
                                                the Court and e-mail the Court Reporter, Shawn
                                                McRoberts,                                         at
                                                shawn_mcroberts@txed.uscourts.gov.

    March 6, 2023                               File Motions in Limine

                                                The parties shall limit their motions in limine to
                                                issues that if improperly introduced at trial would
                                                be so prejudicial that the Court could not alleviate
                                                the prejudice by giving appropriate instructions to
                                                the jury.

    March 6, 2023                               Serve Objections to Rebuttal Pretrial Disclosures

    February 27, 2023                           Serve Objections to Pretrial Disclosures; and
                                                Serve Rebuttal Pretrial Disclosures

    February 13, 2023                           Serve Pretrial Disclosures (Witness List,
                                                Deposition Designations, and Exhibit List) by the
                                                Party with the Burden of Proof

    February 6, 2023                            *Response to Dispositive Motions (including
                                                Daubert Motions). Responses to dispositive
                                                motions that were filed prior to the dispositive
                                                motion deadline, including Daubert Motions,
                                                shall be due in accordance with Local Rule CV-
                                                7(e), not to exceed the deadline as set forth in this
                                                Docket Control Order. 2 Motions for Summary
                                                Judgment shall comply with Local Rule CV-56.



2
 The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”


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 January 23, 2023                         *File Motions to Strike Expert Testimony
                                          (including       Daubert        Motions)

                                          No motion to strike expert testimony (including a
                                          Daubert motion) may be filed after this date
                                          without leave of the Court.

 January 23, 2023                         *File Dispositive Motions

                                          No dispositive motion may be filed after this date
                                          without leave of the Court.

                                          Motions shall comply with Local Rule CV-56 and
                                          Local Rule CV-7. Motions to extend page limits
                                          will only be granted in exceptional circumstances.
                                          Exceptional circumstances require more than
                                          agreement among the parties.

 January 17, 2023                         Deadline to Complete Expert Discovery

 January 3, 2023     January 5, 2023      Serve Disclosures for Rebuttal Expert Witnesses

 December 12, 2022                        Deadline to Complete Fact Discovery and File
                                          Motions to Compel Discovery

 December 12, 2022                        Serve Disclosures for Expert Witnesses by the
                                          Party with the Burden of Proof

 November 4, 2022                         Comply with P.R. 3-7 (Opinion of Counsel
                                          Defenses)

 October 14, 2022                         *Claim Construction Hearing – 9:00 a.m. in
                                          Marshall, Texas before Judge Rodney Gilstrap

 September 30,                            *Comply with P.R.         4-5(d)   (Joint   Claim
 2022                                     Construction Chart)

 September 23,                            *Comply with P.R. 4-5(c) (Reply Claim
 2022                                     Construction Brief)

 September 16,                            Comply with P.R. 4-5(b) (Responsive Claim
 2022                                     Construction Brief)



If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.



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    September 2, 2022                       Comply with P.R. 4-5(a) (Opening Claim
                                            Construction Brief) and Submit Technical
                                            Tutorials (if any)

                                            Good cause must be shown to submit technical
                                            tutorials after the deadline to comply with P.R. 4-
                                            5(a).

    September 2, 2022                       Deadline to Substantially Complete Document
                                            Production and Exchange Privilege Logs

                                            Counsel are expected to make good faith efforts
                                            to produce all required documents as soon as they
                                            are available and not wait until the substantial
                                            completion deadline.

    August 19, 2022     August 26, 2022     Comply with P.R. 4-4 (Deadline to Complete
                                            Claim Construction Discovery)

    July 22, 2022       August 19, 2022     Comply with P.R. 4-3 (Joint Claim Construction
                                            Statement)

    August 12, 2022                         File Response to Amended Pleadings

    July 1, 2022        August 5, 2022      Comply with P.R. 4-2 (Exchange Preliminary
                                            Claim Constructions)

    July 29, 2022                           *File Amended Pleadings

                                            It is not necessary to seek leave of Court to amend
                                            pleadings prior to this deadline unless the
                                            amendment seeks to assert additional patents.

    June 10, 2022       July 22, 2022       Comply with P.R. 4-1 (Exchange Proposed Claim
                                            Terms)

    June 29, 2022       July 13, 2022       Comply with P.R. 3-3 & 3-4 (Invalidity
                                            Contentions) for U.S. Pat. Nos. 8,787,060 &
                                            9,318,160

    June 29, 2022                           Comply with Standing Order Regarding Subject-
                                            Matter Eligibility Contentions 3

3
 _http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20
Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf             [https://perma.cc/RQN2-
YU5P]



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 June 29, 2022                                 Comply with P.R. 3-3 & 3-4 (Invalidity
                                               Contentions) for U.S. Pat. Nos. 10,860,506;
                                               10,949,339; 11,016,918 & 11,232,054

 June 8, 2022                                  *File Proposed Protective Order and Comply with
                                               Paragraphs 1 & 3 of the Discovery Order (Initial
                                               and Additional Disclosures)

                                               The Proposed Protective Order shall be filed as a
                                               separate motion with the caption indicating
                                               whether or not the proposed order is opposed in
                                               any part.

 June 1, 2022          June 6, 2022            *File Proposed Docket Control Order and
                                               Proposed Discovery Order

                                               The Proposed Docket Control Order and
                                               Proposed Discovery Order shall be filed as
                                               separate motions with the caption indicating
                                               whether or not the proposed order is opposed in
                                               any part.

 May 25, 2022                                  Join Additional Parties

 May 4, 2022                                   Comply with P.R. 3-1 & 3-2 (Infringement
                                               Contentions)
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is
not shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of


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the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel.


        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,



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with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.

      So ORDERED and SIGNED this 7th day of June, 2022.




                                                      ____________________________________
                                                      RODNEY GILSTRAP
                                                      UNITED STATES DISTRICT JUDGE




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